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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                                          Chapter 7

BMT DESIGNERS & PLANNERS, INC.,                                                 Case No. 22-10123 (MG)
fdba BMT D&P, fdba BMT fdba BMT DAS US,

                           Debtor.
--------------------------------------------------------------x

   ORDER SHORTENING TIME AND LIMITING NOTICE OF THE HEARING TO
CONSIDER MOTION FOR THE ENTRY OF AN ORDER, PURSUANT TO 11 U.S.C. §§
105(a), 541, 542 AND 721, AUTHORIZING THE CHAPTER 7 TRUSTEE TO OPERATE
 THE DEBTOR’S BUSINESS AND PAY CERTAIN OPERATING EXPENSES OF THE
    ESTATE, TO DIRECT THE TURNOVER OF PROPERTY OF THE DEBTOR’S
                          ESTATE AND RELATED RELIEF

        Upon the motion (“Motion”) of Salvatore LaMonica, solely in his capacity as interim

Chapter 7 Trustee (“Trustee”) of the BMT Designers & Planners, Inc., fdba BMT D&P, fdba BMT,

fdba BMT DAS US (“Debtor”) estate (“Estate”), by his proposed counsel, LaMonica Herbst &

Maniscalco, LLP (“LHM”), seeking entry of an Order scheduling a hearing on shortened notice of

the Trustee’s motion (“721 Motion”)1 seeking entry of an Order, pursuant to Bankruptcy Code

sections 105(a), 541, 542 and 721, authorizing the Trustee to operate the Debtor’s business and

pay certain expenses on an interim basis from funds in the Estate to wind down the Debtor’s

operations, collect the substantial accounts receivable, preserve the Debtor’s books and records

and other assets and direct the turnover of property of the Estate as set forth herein, nunc pro tunc

to February 2, 2022 through and including May 2, 2022, without prejudice to seek to further extend

such time, and for related relief; and upon the Affirmation of Jacqulyn S. Loftin, Esq. pursuant to

Local Bankruptcy Rule 9077-1, which sets forth, among other things, the basis for the 721 Moton;

now, therefore, it is hereby



1
        Capitalized terms not otherwise defined herein shall have the definition ascribed to them in the 721 Motion.
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        ORDERED, that a video hearing through Zoom for Government shall be held before the

Honorable Martin Glenn, United States Bankruptcy Judge, United States Bankruptcy Court for the

Southern District of New York, on February 16, 2022 at 10:00 a.m. (“Hearing”) to consider the

relief sought in the 721 Motion; and, it is further,

        ORDERED, that those who wish to appear at the Hearing, you must register your

appearance utilizing the Electronic Appearance portal located on the Court’s website at

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl. Appearances must be entered no later

than 4 pm one business day before the hearing unless otherwise instructed by chambers; and, it is

further2,

        ORDERED, that a copy of this Order and the 721 Motion shall be served by electronic

mail or overnight mail, if electronic service cannot be effectuated, on or before February 11, 2022

to: (i) the Debtor, through their counsel; (ii) the Office of the United States Trustee; (iii) parties

who that have filed a Notice of Appearance in this case, if any; (iv) the Debtors’ top twenty (20)

creditors according to the Debtor’s petition and schedules; and (v) the Interested Parties, or their

counsels, and such service shall be deemed adequate and sufficient notice of the Hearing; and, it

is further

        ORDERED that objections, if any, must be in writing, conform with the Bankruptcy Code,

Bankruptcy Rules and the Local Rules, and be filed electronically with the Court on or before

February 15, 2022 by 12:00 p.m.; and it is further


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          The Court shall provide a Zoom link to those persons who have made an eCourtAppearance by 4 PM the
business day before the hearing. Any party appearing at, listening to, or observing the Hearing, must make an
electronic appearance, an eCourtAppearance, by using the eCourtAppearance portal located on the Court's website,
https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl, or by clicking the “eCourtAppearances” tab on Judge
Glenn’s page of the Court’s website at, http://www.nysb.uscourts.gov/content/judge-martin-glenn. After the deadline
to make appearances passes, the Court will send Outlook invitations to those persons who made eCourtAppearances,
using the email addresses submitted with those appearances.



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       ORDERED, that proof of service in accordance with this Order shall be filed with the

Court prior to the Hearing; and, it is further

       ORDERED, that the Trustee is authorized and directed to take such steps, execute such

documents and expend such funds as may be reasonably necessary to effectuate and implement

the terms and conditions of this Order.



IT IS SO ORDERED.
Dated: February 11, 2022
       New York, New York

                                                 _____/s/ Martin Glenn_______
                                                        MARTIN GLENN
                                                 United States Bankruptcy Judge




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